


  Per Curiam.
 

  Thomas William Cusimano Jr. was admitted to practice by this Court in 1983 and lists a business address in Dade City, Florida with the Office of Court Administration. Cusimano now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Cusimano’s application.
 

  Upon reading Cusimano’s affidavit sworn to August 7, 2017 and filed with this Court on August 10, 2017, and upon reading the September 6, 2017 correspondence in response by the Chief Attorney for AGC, and having determined that Cusimano is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
 

  Peters, P.J., McCarthy, Rose, Aarons and Pritzker, JJ., concur.
 

  Ordered that Thomas William Cusimano Jr.’s application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further ordered that Thomas William Cusimano Jr.’s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further ordered that, effective immediately, Thomas William Cusimano Jr. is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Cusimano is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further ordered that Thomas William Cusimano Jr. shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.
 
